6/8/23, 9:21Case
            AM   5:23-cv-11074-JEL-EAS                 ECF The
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                                                               Libertarian    PageID.1048
                                                                           Party                      Filed
                                                                                 Mail - Email from imposter    07/22/23 Page 1 of 1
                                                                                                            party




               Gmaill                                                                                    Secretary LNC <secretary@lp.org>



  Email from imposter party
  2 messages

  Andrew Chadderdon <andrew.chadderdon@gmail.com>                                           Wed, Jun 7, 2023 at 11:16 PM
  To: Angela McArdle <angela.mcardle@lp.org>, Secretary LNC <secretary@lp.org>, secretary <secretary@michiganlp.org>

    Maybe not as severe of an example as some other cases, but i thought i should share since it is the imposter party
    sending out mailers and representing themselves as the party.

    We were not informed of any request to solicit for volunteers from the Affiliate.

    Andrew

    ---------- Forwarded message ---------
    From: Libertarian Party of Michigan <no_reply@civi.michiganlp.net>
    Date: Wed, Jun 7, 2023, 9:40 PM
    Subject: HRLP & 2023 Ann Arbor Art Fair
    To: Andrew Chadderdon <andrew.chadderdon@gmail.com>


    Official communication from the Libertarian Party of Michigan

    Dear Andrew,

    The Huron-Raisin Libertarian Party (HRLP) is looking for volunteers for our annual booth at the Ann Arbor Art Fair.

    The Ann Arbor Art Fair is a Midwest tradition that draws close to half a million attendees over three days in July. The
    largest juried art fair in the nation, the Ann Arbor Art Fair features nearly 1,000 artists and a footprint spanning 30 city
    blocks in downtown Ann Arbor. The Ann Arbor Art Fair is comprised of three independently juried, nonprofit art fairs that
    run concurrently: Ann Arbor Street Art Fair, The Original; Ann Arbor Summer Art Fair; and Ann Arbor State Street Art Fair.

    The HRLP will have a booth for the following dates: July 20th, 21st, and 22nd. Please send an email to Larry Johnson at
    michlibertarian@gmail.com if you wish to volunteer. With so many things happening in this state, it is a great opportunity
    to get into and engage with the community. Oh and it's FUN!

    Hope to see you there!




    Unsubscribe
    PO Box 614
    Royal Oak, MI 48068
    United States



  Secretary LNC <secretary@lp.org>                                                                               Wed, Jun 7, 2023 at 11:18 PM
  To: Andrew Chadderdon <andrew.chadderdon@gmail.com>
  Cc: Angela McArdle <angela.mcardle@lp.org>, secretary <secretary@michiganlp.org>

    Gracias, since they go out of their way to call it "official" I think it pretty bad.
    [Quoted text hidden]
    --
    ___________________________________________________
    In Liberty, Caryn Ann Harlos
    LNC Secretary and LP Historical Preservation Committee Chair ~ 561.523.2250



                                                              EXHIBIT55
                                                            EXHIBIT   55
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